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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ROBERT PHIFER, JR.,        )
                           )
     Plaintiff,            )
                           )                    CIVIL ACTION NO.
     v.                    )                      2:19cv166-MHT
                           )                           (WO)
HYUNDAI POWER TRANSFORMERS )
USA, et al.,               )
                           )
     Defendants.           )

                           OPINION AND ORDER

       Plaintiff Robert Phifer, Jr. brought this lawsuit

against       multiple     defendants,         including            his    former

employer Hyundai Power Transformers (HPT).                          The amended

complaint specifically set fourth four counts against

HPT:    (1)    a   count   under   42    U.S.C.         §    1981    for    “race

discrimination, race harassment, and retaliation”; (2)

a   count     under      Title   VII    for    “race         discrimination,

harassment,        and   retaliation”;        (3)   a       count    under    the

Family and Medical Leave Act (FMLA) for interference;

and (4) a count under the FMLA for retaliation.                             Based

on representations made on the record during a status
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conference on June 29, 2020, the parties agreed that in

sum the complaint now sets forth only 10 legal claims

against HPT as follows:

  (1) race    discrimination   in failure   to  promote
       under § 1981;
  (2) race discrimination in termination under § 1981;
  (3) race-based harassment under § 1981;
  (4) retaliation under § 1981;
  (5) race discrimination in failure to promote under
       Title VII;
  (6) race discrimination in termination under Title
       VII;
  (7) race-based harassment under Title VII;
  (8) retaliation under Title VII;
  (9) interference under FMLA; and
  (10) retaliation under FMLA.

    The case is currently before the court on HPT’s

partial   motion    to    dismiss,     or,   in    the   alternative,

motion for a more definite statement.               See HPT Mot. to

Dismiss (doc. no. 23).             Phifer failed to respond to

the motion.      The court previously explained that it

would   grant   the      partial   motion     to   dismiss     in      the

absence of any reason why Phifer failed to respond to

the motion, but gave Phifer an opportunity to explain

the reason for the failure.               See Opinion and Order

(doc. no. 35).        The court has now received Phifer’s

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counsel’s      explanation,         including     her     recommended

sanctions.     See Pl.’s Response (doc. no. 36).               In light

of the parties’ agreement to dismiss the claims against

the defendants Ted Arkuszeski, Clayton Payne, and Tony

Wojciechowski, see Judgment (doc. no. 40), and Phifer’s

counsel’s       recommendation          that       she        hire       a

case-management consultant, the court does not believe

it will be necessary to dismiss any claims against HPT

at the current time as an additional sanction for the

failure to respond.

    Accordingly, it is ORDERED as follows:

    (1) The defendant HPT’s partial motion to dismiss

(doc.    no.   23)   is    denied   without     prejudice     and     with

leave to renew after 10 business days from the issuance

of this order.              The court believes it will be in

better    position    to    determine    the    merits   of    a     claim

after that claim has been re-alleged in more detail.

    (2) The motion for a more definite statement (doc.

no. 23) is granted.         Plaintiff Robert Phifer, Jr.              must

file, within 10 business days from the issuance of this

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order,    a    full   amended   complaint    which      separates      out

each legal claim and includes the following:

         (a)      Plaintiff     Phifer    must    separately       allege

           in     the     complaint       which        facts     support

           specifically claim (1), race discrimination in

           failure to promote under § 1981.               If plaintiff

           Phifer     does   not   include       the    claim    in    the

           amended complaint, the court will consider it

           abandoned.

         (b)      Plaintiff     Phifer    must    separately       allege

           in     the     complaint       which        facts      support

           specifically         support      claim        (2),        race

           discrimination in termination under § 1981.                  If

           plaintiff Phifer does not include the claim in

           the amended complaint, the court will consider

           it abandoned.

         (c)      Plaintiff     Phifer    must    separately       allege

           in     the     complaint       which        facts      support

           specifically       support     claim    (3),        race-based

           harassment under § 1981.           If plaintiff Phifer

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      does    not    include       the     claim        in    the    amended

      complaint,        the        court         will        consider        it

      abandoned.

   (d)        Plaintiff     Phifer        must     separately         allege

      in      the     complaint           which         facts        support

      specifically       support          claim     (4),       retaliation

      under § 1981.           If       plaintiff    Phifer          does    not

      include the claim in the amended complaint, the

      court will consider it abandoned.

   (e)        Plaintiff     Phifer        must     separately         allege

      in      the     complaint           which         facts        support

      specifically         support           claim            (5),         race

      discrimination          in       failure     to    promote        under

      Title    VII.           If       plaintiff    Phifer          does    not

      include the claim in the amended complaint, the

      court will consider it abandoned.

   (f)        Plaintiff     Phifer        must     separately         allege

      in      the     complaint           which         facts        support

      specifically         support           claim            (6),         race

      discrimination in termination under Title VII.

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      If plaintiff Phifer does not include the claim

      in    the    amended     complaint,      the     court     will

      consider it abandoned.

   (g)       Plaintiff      Phifer    must    separately       allege

      in     the      complaint       which      facts        support

      specifically support claim (7), race harassment

      under Title VII.         If plaintiff Phifer does not

      include the claim in the amended complaint, the

      court will consider it abandoned.

   (h)       Plaintiff      Phifer    must    separately       allege

      in     the      complaint       which      facts        support

      specifically       support     claim     (8),    retaliation

      under Title VII.         If plaintiff Phifer does not

      include the claim in the amended complaint, the

      court will consider it abandoned.

   (i)      Plaintiff     Phifer     need    only     reallege,     in

      the     newly     amended      complaint,        claim     (9),

      interference       under     FMLA,      and     claim     (10),

      retaliation under FMLA, and the facts they are

      based on, for there is no request for a more

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          definite statement as to them.

    (3) The     court    agrees       with      the    recommendation      of

counsel   for     plaintiff     Phifer       that,      as   sanction     for

failure to respond to this court’s order, counsel for

plaintiff   Phifer      shall   “arrange         for    a    consultant    to

meet with members of her law firm on a non-work day.”

Pl.’s Response (doc. no. 36) at 4.                    Plaintiff Phifer’s

counsel must do the following:

      (a)       Confirm, within 15 business days of the

          issuance of this order, that she has arranged

          for the consultant.

      (b)       “[S]ubmit       for       the    Court’s       approval     a

          report     detailing        what      occurred       during     the

          meeting no later than [15 business] days after

          it is completed.”           Pl.’s Response (doc. no. 36)

          at 4.

    DONE, this the 30th day of June, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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